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           EXHIBIT G
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From: rudy superiorinc.us <rudy@superiorinc.us>
Sent: Thursday, June 30, 2022 4:04 PM
To: Valenno D <valentino101@msn.com>
Subject: Stava update

Hello Valenno,

I have spoken to Brian regarding the status of the Stava Loan.

Del Morgan says it has received two brokerage rm response 17 million each
I believe the funding will complete next week

I am including the teaser that was distributed Monday

Del Morgan will not normally give a rm date but I believe we are very close now.
8/1/22, 12:21 PM   Case 2:23-cv-00226-DJH Document           1-8
                                                Enara Law PLLC Mail -Filed 02/03/23
                                                                     Fwd: Fw:               Page 3 of 3
                                                                              Stavatti update

    I have asked Stava to email you an update you will probably get today.

    I will try to call you now

    Thank you,

    Rudy

          Stavatti Teaser 6.24.22.pdf
          338K




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